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MIKUL KLEHM                                          §
                                                     §
      Plaintiff                                      §
                                                     §
v.                                                   §
                                                     §
RAWLTYN J. HART in his individual capacity;          §
                                                     §            4:22-cv-01226 v. Hart et al
     and                                             §
                                                     §
HARRIS COUNTY, TEXAS                                 §
   aka                                               §
HARRIS COUNTY SHERIFF’S OFFICE                       §
                                                     §
     Defendants                                      §



                           PLAINTIFF’S ORIGINAL COMPLAINT


        COMES NOW, MIKUL KLEHM (hereinafter referred to as “Mr. Klehm”), amending his
complaint and complaining of DEPUTY RAWLTYN J. HART (“Defendant”) and for cause of
action would respectfully show unto this Honorable Court as follows:


                                    I.   NATURE OF THE CASE
     1. This is a civil action arising under the United States Constitution, particularly under the
        provisions of the Due Process Clause and the Fourth and Fourteenth Amendments to the
        Constitution of the United States, and under federal law, particularly the Civil Rights Act,
        Title 42 of the United States Code § 1983, seeking damages against Defendant for
        committing acts, under color of law, with the intent and for the purpose of depriving Mr.
        Klehm of rights secured under the Constitution and laws of the United States.


                                           II.    PARTIES
     2. Plaintiff, MIKUL KLEHM, is a citizen of the United States and currently resides in
        Harris County, Texas.
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3. Defendant, DEPUTY HART, is/was employed by Harris County Sheriff’s office and was
   acting within the scope of his employment and under color of statutes, ordinances, rules
   and regulations, customs and usage of Harris County. At the time of the incident, Deputy
   Fairchild assumed his role as a peace officer. Deputy Fairchild can be served with
   process by delivering a copy of the summons and complaint at an address to be provided
   under seal due to his role in law enforcement.
4. Defendant HARRIS COUNTY, TEXAS a/k/a HARRIS COUNTY SHERIFF’S
   DEPARTMENT is a municipal governmental entity located in Harris County, Texas, and
   may be served by serving its County Judge, Lina Hidalgo, Harris County Judge, at 1001
   Preston, Suite 911, Houston, Texas 77002.
5. Although Plaintiff may refer to Defendant collectively at times, specific factual
   references are made concerning actions or inactions by specific Defendant throughout
   this Complaint – these are not global allegations. As such, this pleading complies with
   current federal standards. FED. R. CIV. P. 8.


                                  III.    JURISDICTION
6. This action is brought pursuant to 42 U.S.C § 1983, the Due Process Clause and the
   Fourth and Fourteenth Amendments to the United States Constitution. This Court has
   jurisdiction of this action under 28 U.S.C. §§ 1331 and 1343. This Court also has
   supplemental jurisdiction to hear the state claims that will be set forth in this complaint.


                                         IV. VENUE
7. Venue is proper in this district under 28 U.S.C. 1391(b) because the acts, events or
   omissions giving rise to this claim occurred in Harris County, Texas which falls within
   the United States Court for the Southern District of Texas, Houston Division.


                           IV.    FACTUAL BACKGROUND
8. On or about April 16, 2020, Officer Rawltyn Hart of the Harris County Sheriff’s office
   while on duty initiated a stop of a vehicle occupied by Mikul Klehm. After the
   aforementioned vehicle tuned onto Beaver Bend Rd., Mr. Klehm exited the said vehicle
   and ran along a fence line, away from Hart’s vehicle, evidenced by a neighbor’s video
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   surveillance (see “exhibit a”) Hart’s vehicle stopped and Hart exited the vehicle, running
   in the direction of Klehm.
9. The events were caught on video surveillance camera (see exhibit a) and a dash camera
   from Hart’s cruiser see “exhibit B”.
10. Hart claims in his voluntary statement that “he yells ‘sheriff’s office, drop the gun’”.
   Klem did not hear Hart make any statements or commands. No sound is detected from
   Hart on the dash cam footage audio of Hart ordering Klehm to stop or even say anything
   to Mr. Klehm at all.
11. Hart told Detective J. Sanchez Klehm had raised gun in right hand. See “exhibit c” Harts
   HCSO Voluntary Statement Hart “observed that the male was holding what appeared to
   silver handgun in his left hand.” “raised his left hand and pointed his gun directly at me
   and yelled ‘move.’” See “exhibit G”
12. Hart claims the presence of the gun is what prompted Hart to give chase.
13. No weapon can be observed in Klehm’s hand in either the security footage or dash
   camera footage.
14. Hart claims Klehm raised a weapon just before Hart shot Klehm but the video evidence
   disputes Harts version of the events.
15. Hart told Detective Sanchez of the Harris County Sheriff’s Office that Klehm turned
   around and pointed his gun at Hart and that’s when Hart fired his first shots. See “exhibit
   c”. The dash camera footage shows Klehm running away and facing away from Hart
   with Klehm’s back to Hart when Hart initiated the shooting. The video evidence does not
   show Klehm turning toward Hart or making threatening gestures toward Hart or anyone
   else. The video shows a man fleeing, not what Hart claims. Deputy Hart initiated
   contact with Mr. Klehm.
16. Mr. Klehm did not threaten anyone. Deputy Hart fired his service weapon four times as
   Mr. Klehm ran away from the deputy. Two of those shots struck Mr. Klehm’s upper legs
   and one shot struck Mr. Klehm’s torso area. The effect of these shots caused Klehm to
   fall in the middle of the street. Klehm rolled over an estimated six or seven feet and laid
   down, attempting to surrender. Mr. Klehm was not able to move or flee in any way. He
   was not within lunging distance of a weapon.
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17. Hart claimed Klehm was lying face down when Klehm reached for gun next to Klehm.
   However, on the dash camera footage, Klehm doesn’t appear to be moving at all.
   Additionally, the alleged weapon was lying in the middle of the street, too far away for
   Klehm to lunge toward. See “exhibit D”
18. In fact, the alleged weapon appears from exhibit D and the dash camera footage to be at
   Hart’s feet when Hart fires the last time, shooting Klehm in the torso again.
19. The video evidence and facts show as Klehm lay supine on the ground, Deputy Hart
   approached Mr. Klehm to a closer distance and proceeded to shoot Mr. Klehm yet again
   in Mr. Klehm’s stomach.
20. Deputy Hart had at least seven seconds as he slowly walked toward Mr. Klehm. Despite
   Deputy Hart’s clear knowledge that Mr. Klehm did not pose a threat to deputy Hart, any
   bystanders or other officers, or the public at large, had been shot several times and was
   unable to walk, and had attempted to surrender, Deputy Hart proceeded to shoot Mr.
   Klehm as Mr. Klehm was attempting to surrender. Deputy Hart acted with conscious
   indifference to Plaintiff’s rights.
21. Mr. Klehm was unable to get up and the deputy left Mr. Klehm on the ground until EMS
   arrived.
22. Mr. Klehm suffered multiple cuts, abrasions, bruises, and contusions in addition to the
   wounds and pain and suffering created by the gunshot wounds.
23. Mr. Klehm was subsequently transported via ems to the hospital to treat the gunshot
   wounds.
24. Ultimately, Mr. Klehm learned that he had been charged with aggravated assault of a
   public servant. The affidavit asserted that Mr. Klehm moved a weapon in the officers
   direction twice, with the second time resulting in Hart shooting Mr. Klehm. However,
   the dash camera video contradicts Hart’s affidavit. The affidavit was signed after Mr.
   Klehm was arrested. This accusation is false as Mr. Klehm never pointed a weapon at
   Hart.
25. Here, Hart has shown in the case at hand and in the past he does not follow departmental
   policies.
       a. The crime suspected was failure to wear a seatbelt and possibly fleeing from such
           accusation. A traffic violation or class C misdemeanor does not justify the use of
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       deadly force and only an incompetent officer on the scene would use force in such
       a situation.
    b. The level of threat or resistance and potential for injury was never present. Even
       if it was at one point, the time between the four shot burst and the last shot at
       point blank range is enough time for an officer on scene to determine further
       deadly force was unreasonable.
    c. Certainly, Hart felt as such as he left the last shot at point blank range out of his
       initial report. Surely if the shots were justified, he would have articulated that
       justification at the start.
    d. Not a split-second decision. The time available for Hart to make a decision and his
       reasonable access to de-escalation option. Hart had many de-escalation options, yet
       he chose the deadliest option of last resort.
    e. There were no weapons within the proximity to the Mr. Klehm.
    f. Hart in the past has violated departmental policy regarding use of force on more than
       one occasion.
            i. Hart has a pending 1983 suit for failing to intervene when fellow Officers
               tazed a handicapped woman in a wheelchair.
           ii. Additionally, Hart has been disciplined for failing to turn on his body camera
               a multitude of times.
           iii. Hart has been disciplined for failing to complete his continuing education.
           iv. Hart has been disciplined for failing to turn in evidence.
           v. Hart was found to have a .380 handgun with the serial number scraped off in
               his cruiser vehicle. The gun should have been in evidence. The department
               and news outlets have speculated Hart had the weapon as a “throw down”
               gun which can be used to justify deadly use of force by officers.
           vi. Hart’s use of force was also documented on the nationally known TV show
               “Cops.” On the episode entitled “Any way you slice it,” Hart is observed
               placing a suspect in an “choke hold/neck restraint” against HCSO
               Departmental Policy. The suspect can be heart saying “I can’t breathe” and
               sputtering while the suspect struggled for air. HCSO can hardly claim it did
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                    not have knowledge of Hart’s activities when it is broadcast on National TV
                    and YouTube. See “Exhibit E”
              vii. Hart did not announce his presence of instruct Mr. Klehm to stop or freeze,
                    although it was feasible to do so.
              viii. Hart at no time employed tactical repositioning such as maintaining a safe
                    distance or behind cover.
               ix. Hart did not give Klehm verbal direction.
                x. Hart could not have believed the force used was reasonably necessary.
               xi. Hart did not report all the pertinent information regarding the deadly use of
                    force.
26. Harris County investigated the shooting. The investigation took an extremely long time,
   longer than it should have under any reasonable circumstances. Hart gave statements
   during the investigation.
27. During the investigation, the investigator obtained multiple pieces of evidence, including
   objective physical evidence, that clearly showed Hart was lying about multiple
   occurrences during the incident. For example, the evidence obtained showed Hart lied
   about where he discharged his weapon, lied about the fact that Plaintiff raised his
   weapon, and lied about Klehm lunging for a weapon.
28. Sheriff Ed Gonzalez (“Gonzalez”) is the elected Sheriff of Harris County and is a final
   policy maker for the county. The investigation into the incident made the basis of this
   lawsuit.
29. Untruthfulness is the worst reason a police officer can be disciplined. Once that finding is
   made against a deputy, it is considered the “kiss of death” because the deputy can no
   longer credibly testify in a criminal case. In other words, the deputy’s lack of credibility
   always supplies reasonable doubt in a court of law. This is especially true of a deputy like
   Hart, whose responsibilities would require him to testify in court.
30. The district attorney brought charges against Hart in front of a grand jury almost two
   years after the incident. Upon information and belief, the district attorney did not tell the
   grand jury about Hart’s inconsistent statements and the obvious evidence deception about
   what happened as previously stated in this petition. Purposely omitting obvious evidence
   of deception is something done only by someone who is plainly incompetent, consciously
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   indifferent to the obvious harm it would cause, or intentionally trying to secure a “no bill”
   despite the plainly obvious conclusion that charges should be brought. This omission was
   designed to secure a “no bill” verdict and allow Harris County to avoid liability and
   embarrassment. The grand jury “no billed” Hart in March/April 2022.
31. Hart had multiple, previous complaints of misconduct, including the use of excessive
   force. Hart also had an excessive amount of use of force incidents. Between the time he
   was hired by Harris County and this incident, Hart had multiple use of force incidents.
   The use of force on the cops episode was never investigated despite, upon information
   and belief, multiple uses of force having telltale signs of excessive force being used.
   Furthermore, upon information and belief, in the previous investigations and use of force
   reports, Hart made multiple attempts at deceiving the investigators by lying about what
   happened to cover up his wrongdoing. Hart’s deception and tactics were plainly obvious
   to any investigator, but the investigators in these matters simply ignored these clear signs
   without regard for the consequences that would plainly follow.
32. The decision to discipline or not to discipline Hart for this incident was made by Sheriff
   Gonzalez, a final policymaker for Harris County, Texas. Alternatively, the decision was
   made by a person(s) who was delegated policymaking authority and/or final decision-
   making ability regarding investigations by a final policymaker. In conjunction with the
   prior uses of force, investigations, Hart’s deceptive tactics, and his history that Harris
   County was aware of, this investigation made it plainly obvious that the only way to
   prevent a future use of excessive was to either: 1.) terminate Deputy Hart; or 2.) reassign
   him to another role where the potential for the use of force or the use excessive force is
   practically non-existent, such as an administrative role.
33. Hart and Harris County do not have insurance for this incident. Harris County has never
   required its officers to obtain insurance in case they are sued for excessive force. Harris
   County has never required its officers to obtain other means to satisfy a judgment against
   them such as a bond, surety, or other means. Harris County, unlike multiple other
   municipalities in Texas and throughout the United States, does not pay or otherwise
   satisfy judgments entered against is deputies for violations of civil rights, including
   excessive force. It is the official policy, or unofficial custom of Harris County Sheriff’s
   deputies to not obtain such insurance or indemnification so that the deputies remain
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   “judgment proof” in the event of litigation. This actively discourages litigants and
   attorneys from filing lawsuits because there is often no ability to recover just
   compensation for violations of constitutional rights such as the prohibition of excessive
   force. Because deputies are not held accountable for excessive force, this creates an
   official policy, or unofficial custom, of normalizing the use of excessive force as the
   deputies know it is extremely unlikely they will be sued. This was a moving force of the
   excessive force visited on Plaintiff as stated in this complaint.
34. After the shooting of Mr. Klehm, Harris County Sheriff’s Department ratified the actions
   of Hart and confirmed a pattern of practice evidenced by Deputy Robert Minchew of the
   Harris County Sheriff’s Office Homicide Division served as a spokesman for the policy
   makers and decision makers of the Harris County Sheriff’s Office to KHOU 11. See
   “exhibit F” Deputy Minchew after being asked admitted it was the policy and/or practice
   of the Harris County Sheriff’s Department to consider “any time a suspect has a gun in
   his hands we are in fear for our lives.” This statement is the justification Harris County
   used to initially justify the shooting. Harris County Sheriff’s Office used this policy in
   this instance to justify the shooting of Klehm. Deputy Minchew went on to state that the
   deputies are “so well trained” that Hart was “doing great.”
35. Despite this clear knowledge, Harris County had the official policy, or unofficial custom,
   of allowing the shooting of a suspect for merely being in possession of a firearm.
36. In November 2020, the Sunset Advisory Commission issued a Staff Report (“Report”)
   regarding the Texas Commission on Law Enforcement (“TCOLE”). The Report
   determined Texas’ approach to law enforcement has failed to meet the public’s needs. It
   said there is a lack of statewide standards, poor accountability, and inadequate training.
   The report said that many of TCOLE’s struggles are beyond its control. The report stated
   that TCOLE’s minimum standards were outdated and inadequate. It also specifically
   pointed out that TCOLE had not authority to enforce standards for local sheriff’s offices.
   The report concluded the state’s regulatory system is fundamentally broken. The report is
   indicative of the chronic, widespread, and constitutionally deficient training and oversight
   for law enforcement in Texas.
37. It is well known and accepted in the policing community in Texas and nationwide that
   departments in states that have widespread and chronic training and oversight
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   deficiencies, such as those cited in the Report, have increased rates of excessive force.
   Further, it is well known and accepted in the policing community in Texas and
   nationwide that departments who hire deputies in states that have widespread and chronic
   training and oversight deficiencies have increased rates of excessive force. In other
   words, it is clear the plain and obvious effect of using TCOLE minimum standards to any
   degree in hiring, supervision, disciplinary and/or retention decisions will result in an
   unacceptable increase in the use of excessive force by deputies. Despite this clear
   knowledge, Harris County had the official policy, or unofficial custom, of using TCOLE
   minimum standards for hiring, supervision, disciplinary and/or retention decisions
   regarding patrol deputies like Hart. This was a moving force of the excessive force
   visited on Plaintiff as stated in this complaint.
38. Because of the constitutionally deficient training and oversight, the failure to require
   more than a high school degree, the lack of insurance, the ineffective investigations of
   Defendants, and other official policies and/or unofficial customs, officers like Hart were
   inadequately equipped to handle situations like those presented to them at the time of the
   incident. As a result, they respond with illegal, unconstitutional, and excessive force.
   These official policies and/or unofficial customs, either alone or in combination, were the
   moving force of the excessive force visiting on Plaintiff as stated in this complaint.
39. Sheriff Gonzalez, the Disciplinary Review Board, the Commissioner’s Court, and other
   final policy makers for Harris County had knowledge of the official policies and/or
   unofficial customs stated previously. Despite it being plainly obvious to Harris County
   that continuing these policies and customs would result in an unacceptable increase in
   excessive force, Harris County chose not to correct, change, or alter any of these policies.
   In other words, Harris County accepted the inevitable increase and problem with
   excessive force as “the cost of doing business.” This widespread, lax attitude toward
   excessive force resulted Plaintiff’s injuries as alleged in this lawsuit.
40. Because of the acts of the Harris County Sheriff’s Department, Harris County, and
   Officer Hart, Plaintiff has suffered general, special and consequential damages allowed
   by law. Plaintiff continues to suffer from said injuries.


                               V.     CAUSED OF ACTION
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 i.      § 1983 — EXCESSIVE FORCE
      41. Plaintiff hereby adopts, incorporates, restates, and re-alleges all previous paragraphs,
         inclusive, with regard to all causes of action.
      42. Plaintiff asserts that Deputy Hart used excessive and/or deadly force in the course of the
         deputie’s illegal seizure and arrest of Plaintiff, a free citizen, in violation of the Fourth
         Amendment and its “reasonableness” standard. Plaintiff asserts that he was unlawfully
         assaulted by Defendant and unlawfully shot. Said actions resulted directly from the use of
         force that was clearly excessive to the need, and the use of force was objectively
         unreasonable. To establish that the Defendant violated Plaintiff’s constitutional right to
         be free from excessive force, Plaintiff must show:
                 a) An injury;
                 b) Which resulted from the use of force that was clearly excessive to the need;
                     and
                 c) The excessiveness of which was objectively unreasonable. See Rockwell v.
                     Brown, 664 F.3d 985, 991 (5th Cir. 2001).
      43. As stated in the facts section of the complaint, the Plaintiff suffered multiple injuries as a
         direct result of the Defendant’ actions. The Defendant’ actions and/or omissions were
         “objectively unreasonable” in light of the facts and circumstances confronting the officer
         without regard to their underlying intention or motivation. Clearly, the facts and
         circumstances of this particular incident demonstrates the unreasonableness of said
         actions, including that Plaintiff was unarmed???, and posed no threat or danger to the
         police. For these reasons, it was objectively unreasonable for the Defendant to have
         assaulted and tased Plaintiff and their actions were clearly excessive to the need.


ii.      § 1983 – Unreasonable Seizure/False Arrest/False Imprisonment
      44. Plaintiff hereby adopts, incorporates, restates and re-alleges all previous paragraphs,
         inclusive, with regard to all causes of action.
      45. Mr. Klehm asserts that he was unlawfully arrested on April 16, 2020, without probable
         cause to believe he committed a crime. The Fourth Amendment prohibits the police from
         carrying out unreasonable seizures. An arrest is a “seizure” under the Fourth Amendment.
         Under the Fourth Amendment an arrest may only be made when a police officer has
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          probable cause to believe that the person arrested has engaged in criminal conduct. An
          arrest without probable cause is an unreasonable seizure.
       46. Defendant did not have probable cause to seize and arrest Mr. Klehm. Klehm posed no
          threat to the officer. The facts and circumstances known to the Defendant at the time
          were not reasonably sufficient to cause a reasonable officer to believe that Plaintiff had
          committed or was committing a crime, or that he was a threat to officer.
       47. Moreover, Mr. Klehm’s unlawful, warrantless arrest resulted in his false imprisonment in
          that Defendant had no lawful right to hold Plaintiff against his will, and transport, and
          hold his in jail.


iii.      Qualified Immunity Under § 1983
       48. Plaintiff hereby adopts, incorporates, restates and re-alleges all previous paragraphs,
          inclusive, and with regard to all causes of action.
       49. Defendant were carrying out a governmental function in effectuating the wrongful
          detention and arrest of the Plaintiff and employing the excessive use of force.
          Government actors can be entitled to qualified immunity to their individual liability but
          this immunity is waived if the complainant shows that:
                  a) The individual’s act deprived the party of constitutional rights under color of
                      law;
                  b) The deprived rights were clearly established and constitutional rights which
                      existed at the time of the acts; and
                  c) Such acts were not objectively reasonable under the circumstances, that is, no
                      reasonable official could have believed at the time that the conduct was
                      lawful.
       50. In Kinney v. Weaver, the Fifth Circuit explain the “clearly established” prong as follows:
          Qualified immunity should not be denied unless the law is clear in the more
          particularized sense that reasonable officials should be “on notice that their conduct is
          unlawful.” Saucier v. Katz, 533 U.S. 194, 206 (2001). The central concept is that of “fair
          warning”: The law can clearly be established “despite notable factual distinctions
          between the precedents relied on and the cases then before the Court, so long as the prior
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         decisions gave reasonable warning that the conduct then at issue violated constitutional
         rights. See Hope, 536 U.S. at 740 (internal quotation marks omitted).
      51. Plaintiff posed no threat to the deputies and yet he was shot from behind until his body
         uncontrollably fell to the pavement. Once on the ground he was again shot while he
         attempted to surrender. The actions taken by Defendant were excessive and
         unreasonable under clearly established law.See Kinney v. Weaver, 367 F.3d 337, 350
         (5th Cir. 2004) (en banc).
      52. Moreover, the right to be free from false arrest has been clearly established since at least
         1975. Further, no reasonable officer could believe he had probable cause to arrest Mr.
         Klehm. As such, the officer are not entitled to qualified immunity.
      53. The acts of the Defendant clearly violated established statutory and constitutional rights
         of which a reasonable person would have known, including the constitutional rights
         afforded by the Due Process Clause, and the Fourth Amendment of the United States
         Constitution.


iv.      Ratification by Harris County and Pattern/Practice of Excessive Force
      54. Plaintiff hereby adopts, incorporates, restates and re-alleges all previous paragraphs,
         inclusive, and with regard to all causes of action.
      55. Plaintiff had his rights violated and was injured due to the polices, practices, customs and
         procedures of Harris County. Defendant Harris County has a practice, custom, culture,
         procedure, and/or training of permitting and/or encouraging excessive force against
         suspects.
      56. No person, namely Deputy Hart was disciplined after the investigation of this well
         documented incident the Harris County occurred for a violation, thereby ratifying the
         conduct as set forth above. Harris County Sheriff’s determination after an investigation
         that lasted over two years that this excessive use of force was consistent with
         departmental policy created in the department an expectation of impunity for the use of
         excessive deadly force.
      57. According to Harris County statistics, there has been over 3000 excessive use of force
         allegations made against Harris County Sheriff’s department in 2015 alone. However,
         very few findings of unjustified or firings as a result.
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58. Facts supporting the Monell claims are set out quite clearly in this past and pending suits
   including but not limited to excessive force, failure to train, and/or failure to supervise.
59. The Harris County Sheriff’s office has a long history of using an “unnecessary
   application of force.”
60. Deputy Hart has a long history of excessive force known by the Harris County Sheriff’s
   Office.
61. It uses unnecessary force on its detainees, in patrol, and as security officer. On June 9,
   2009, the United States Department of Justice (“DOJ”) issued a memorandum entitled
   “Investigation of the Harris County Jail” (“2009 DOJ Memorandum”).
62. Of the many constitutional deficiencies identified by the DOJ, two are specifically
   pertinent to this case: (1) Harris County permitted its employees to use significant force
   without having measures in place that would enable it to review the propriety of such
   uses of force; and (2) jail supervisors approved officer’ use of force without investigating
   the need for that force.
63. The DOJ referred to these deficiencies as “systemic.”
64. On information and belief, Harris County Sheriff’s Office has a history of determining
   that actions by employees that constitute an unnecessary use of force— specifically
   shooting of armed suspects—were justified and within the guidelines of policy,
   procedure, and law, regardless of if the suspect poses a threat to the officer. Further, on
   information and belief, Harris County Sheriff’s Office determined a suspect poses a
   threat which justifies the use of deadly force by suspicion a suspect is holding a weapon.
   These policies do not take into account whether the suspect poses a threat to the officers,
   suspect, or members of the community or the nature of the crime suspected. Such
   determinations and persistent practices were a driving force behind injuries to suspects,
   and others outside the jail setting including Mr. Klehm.
65. In April 2017, Harris County Sheriff Deputies used excessive force when they shot and
   killed Michael Maldonado. In December 2017, five Harris County Detention Officer
   brutally beat an inmate, Jerome Bartee. In October 2015, two Harris County Sheriff
   Deputies seriously beat an inmate, Michael Alaniz. In May 2016, Harris County Sheriff
   Deputies used excessive force against and wrongfully arrested Gilbert Cruz. In June
   2011, Harris County Sheriff Deputies used these cases demonstrating custom, policy and
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   practice of Harris County: SDTX Houston Division Case 4:16-cv-02944 [Dkt.
   13]excessive force on Travis Prespentt. In an interview with the Chronicle, Assistant
   Chief Deputy Mark Herman commented on the Prespentt incident, stating among other
   things that “these things happen.”
66. On information and belief, Harris County to this day has intentionally and consciously
   disregarded the DOJ’s 2009 admonitions and recommendations. Upon information and
   belief, despite any official policies that may be in writing, Harris County has had actual
   knowledge of and has permitted and condoned a custom or practice of using excessive
   force against inmates, detainees and others, in the Harris County jail and denying them
   proper medical treatment since at least 2009 and continuing to at least November 13,
   2015 and beyond.
67. Additionally, the Harris County Sheriff’s Department and specifically Deputy Hart have
   been involved in other instances of excessive use of force, afterward keeping Hart on
   Duty following the incident.
68. After the shooting of Mr. Klehm, Harris County Sheriff’s Department ratified the actions
   of Hart and confirmed a pattern of practice evidenced by the interview with KHOU 11.
   The department has an unwritten policy of shooting armed suspects if “they have a gun in
   their hand.” This policy has been ruled unjustified previously by the Ninth Circuit. That
   individual's lawsuit challenged the "Special Rules of Engagement" under which federal
   agents could "kill any armed adult" male "irrespective of whether the armed adult
   presented an immediate threat of harm to the agent or to another person. The Ninth
   Circuit found that "so extreme an order is patently unjustified,, and confirmed the
   constitutional standard that "[l]aw enforcement officers may not shoot to kill unless, at a
   minimum, the suspect presents an immediate threat to the officer or others, or is fleeing
   and his escape will result in a serious threat of injury to persons. Accordingly, the officer
   who shot the plaintiff was not entitled to qualified immunity. Harris v. Roderick, 126
   F.3d 1189, 1193 (9th Cir. 1997). 213 Id.
69. These actions and policies of the Harris County Sheriff’s Office led Deputy Hart to
   believe he was justified in shooting Mr. Klehm.

Plaintiff’s claims under the Texas Tort Claims Act for Defendants Harris County,
Texas a/k/a Harris County Sheriff’s Department
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   70. Plaintiff hereby adopts, incorporates, restates and re-alleges all previous paragraphs,
        inclusive, and with regard to all causes of action.
   71. Defendants had a duty of care to Plaintiff. Defendants’ conduct fell below the standard of
        care, and the breach of that standard caused Plaintiff’s damages. Furthermore, Defendants
        were aware of the extreme degree of risk to Plaintiff health, safety and welfare posed by
        the actions there were about to commit. Despite this actual awareness, Defendants
        proceeded with conscious indifference to that risk. Defendants acted intentionally, and
        with malice. Defendants’ actions and omissions, negligence, gross negligence, and
        conscious indifference of Defendants as recited above are also violative of the Texas Tort
        Claims Act, as set out in Chapter 101 et seq of the Texas Civil Practice and Remedies
        Code. Pursuant to Tex. Civ. Prac. and Rem. Code § 101.25, these governmental entities
        have waived sovereign immunity and are liable for the damages of Plaintiff for the
        multiple gunshot wounds he received.


VI.     DAMAGES
   72. Plaintiff hereby adopts, incorporates, and restates and re-alleges paragraphs 1 through 66,
        inclusive, with regard to all causes of action.
   73. As a result of Defendant’ statutory and constitutional violations, Plaintiff has suffered
        serious and substantial damages and injuries.
VII. ATTORNEY’S FEES AND COSTS
   74. Pursuant to the Civil Rights Attorney’s Fees Award Act, 42 U.S.C. § 1988, Plaintiff
        asserts right to an award of attorney’s fees and costs under its 42 U.S.C. § 1983 pleadings
        if he prevails.
VII.    RELIEF REQUESTED
   75. The preceding factual statements and allegations are incorporated by reference.
   76. For these reasons, Plaintiff prays for judgment against Defendant’s, any or all of them,
        for following:
                a) Actual damages;
                b) Pre-judgment and post-judgment interest;
                c) Punitive and exemplary damages against Defendant in an amount to be
                    determined and as allowed by the Court;
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                 d) Costs of Court; and
                 e) Such other and further relief as the Court deems just and equitable including
                    appropriate.
VIII.    JURY DEMAND
    77. Plaintiff respectfully demands trial by jury and has tendered the appropriate fee for the
         same.
 WHEREFORE
    78. WHEREFORE, Plaintiff respectfully requests Defendant be cited to appear and answer
         herein, and that upon final trial hereof, the Court award the relief against Defendant.
    79. Plaintiff further respectfully request that he be afforded all due expediency within the
         discretion of this Honorable Court to facilitate the preservation of evidence, to
         demonstrate that such unconscionable conduct will not be tolerated in a civilized society,
         and to ensure that justice may be served.




 Respectfully Submitted,




 ___/s/Joshua Rice_________
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 Angleton, TX 77515
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CERTIFICATE OF SERVICE
I hereby certify that a true and correct copy of the above and foregoing has been transmitted to
the all counsel appearing in this cause and pro se parties on this the 15th day of April 2022, by
filing with the ECF System of the United States District Court for the Southern District of Texas.
/s/ Josh Rice
